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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

 

 

DAVID MUNIZ AND CATHY MUNIZ, Civil Action No. 3:23-cv-00825-JFS
Plaintiffs,
Vv.
. My! le, E, wh f =p
. SILVIA VITIELLO.AND AIR BNB, Las S gn
hk lay. “ RP
Defendants. PEp 2 6 dp,

 

"ORDER “ UTY
ee

Based on the Stipulation of the Parties, Defendant Silvio Vitiello” s deadline to respond to
the Complaint shall be extended up through and including June 26, 2023.

IT IS SO ORDERED.

 
     

“GOSEPH F. SAPGRETO, UR.
‘U. S. Magistrate Judge

Dated: Maye?6. , 2023

28507005.1:11932-0144
